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                       UNITED STATES COURT OF APPEALS
                          FOR THE FEDERAL CIRCUIT
                                717 MADISON PLACE, N.W.
                                WASHINGTON, D.C. 20439

PETER R. MARKSTEINER                                                      CLERK’S OFFICE
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                                     May 24, 2023

                2023-1582 - Wireless Discovery LLC v. Meet Group, Inc.

                       NOTICE OF NON-COMPLIANCE
The document (Opening Brief) submitted by Wireless Discovery LLC is not in
compliance with the rules of this court. Within five business days from the date of
this notice, please submit a corrected version of this document correcting the
following:

   •   The caption provided on the document does not follow the official caption
       provided by the Clerk. The official caption can be found on the docket report.
       Fed. Cir. R. 32(a).

       Clerk’s Note: The cover uses the short caption rather than the full caption.

   •   The brief does not contain one or more exemplary patent claims illustrative of
       the issue(s) on appeal on the inside front cover (or immediately following the
       front cover if the language requires more space). Fed. Cir. R. 32(a)(3).

   •   The document does not contain a Certificate of Interest. Fed. Cir. R. 47.4(b).

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       or six.

   •   The contents of the brief do not appear in the correct order: the certificate of
       interest; the table of contents with page references; the table of authorities
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       statement; any statement of the issues; any statement of the case; the
       summary of the argument; the argument, including any statement standard
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       sought; the addendum; and the certificate of compliance, if required by Fed.
       R. App. P. 32(g)(1). Fed. Cir. R. 28(a); Fed. Cir. R. 28.1(d).
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      Clerk’s Note: The Certificate of Compliance and Certificate of Service should
      appear at the end of the brief.

  •   Appendix pages must be numbered using Bates numbering and following the
      format described in the court's Electronic Filing Procedures ("Appendix
      Formatting"). Fed. Cir. R. 30(b)(2)(C); Fed. Cir. R. 30(c)(2).

      Clerk’s Note: The Appx page ranges are not formatted correctly. “APPX069, -
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                                        ***

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                                               FOR THE COURT

                                               /s/ Peter R. Marksteiner
                                               Peter R. Marksteiner
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